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                         Exhibit 12
  Case 24-40605 Doc 16 Filed 03/21/24 Entered 03/21/24 12:05:08 Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

IN RE:                                                §
                                                      §
REMARKABLE HEALTHCARE OF                              §
CARROLLTON LP                                         §       Case No. 24-40605
EIN: 5960                                             §
                                                      §
                                                      §       Chapter 11
       Debtor.                                        §


                         NOTICE OF APPEARANCE OF COUNSEL

       The United States of America hereby designates the following Assistant United States

Attorney as counsel for the United States Department of Health and Human Services (“HHS”), a

creditor who intends to file a proof of claim in this case, and respectfully requests that the same be

noted by the Clerk of the Court and that this attorney be added to the list of counsel in this case to

receive all future notices, orders, and filings via the Court’s CM/ECF system:



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                                               Respectfully submitted,

                                               DAMIEN M. DIGGS
                                               UNITED STATES ATTORNEY




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                                            /s/ Whitney Tharpe
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                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Appearance of
Counsel has been electronically served on all counsel of record on March 21, 2024, by way of the
Court’s CM/ECF system.

                                            /s/ Whitney Tharpe
                                            Whitney Tharpe




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